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 8   CENTER FOR COMMUNITY ACTION
     AND ENVIRONMENTAL JUSTICE
 9
10                             UNITED STATES DISTRICT COURT

11                        CENTRAL DISTRICT OF CALIFORNIA
12
      CENTER FOR COMMUNITY                    Case No. ________________________
13    ACTION AND ENVIRONMENTAL
14    JUSTICE, a non-profit corporation,
                                              COMPLAINT FOR DECLARATORY
15                Plaintiff,                  AND INJUNCTIVE RELIEF AND
16                                            CIVIL PENALTIES
            vs.
17
18    AIRGAS USA, LLC, a limited              (Federal Water Pollution Control Act,
      liability corporation,                  33 U.S.C. §§ 1251 to 1387)
19
20                Defendant.
21
22
           CENTER FOR COMMUNITY ACTION AND ENVIRONMENTAL
23
     JUSTICE (“CCAEJ”), a California non-profit corporation, by and through its counsel,
24
25   hereby alleges:
26
27
     COMPLAINT
28                                            1
29
30
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 1   I.    JURISDICTION AND VENUE
 2
           1.     This is a civil suit brought under the citizen suit enforcement provisions
 3
     of the Federal Water Pollution Control Act, 33 U.S.C. § 1251, et seq. (the “Clean
 4
 5   Water Act” or “the Act”). This Court has subject matter jurisdiction over the parties

 6   and the subject matter of this action pursuant to Section 505(a)(1)(A) of the Act, 33
 7   U.S.C. § 1365(a)(1)(A), and 28 U.S.C. § 1331 (an action arising under the laws of the
 8
     United States). The relief requested is authorized pursuant to 28 U.S.C. §§ 2201-02
 9
     (power to issue declaratory relief in case of actual controversy and further necessary
10
11   relief based on such a declaration); 33 U.S.C. §§ 1319(b), 1365(a) (injunctive relief);
12   and 33 U.S.C. §§ 1319(d), 1365(a) (civil penalties).
13         2.     On November 19, 2020, Plaintiff provided notice of Defendant’s
14
     violations of the Act, and of Plaintiff’s intention to file suit against Defendant, to the
15
     Administrator of the United States Environmental Protection Agency (“EPA”); the
16
17   Administrator of EPA Region IX; the Executive Director of the State Water
18   Resources Control Board (“State Board”); the Executive Officer of the California
19
     Regional Water Quality Control Board, Santa Ana Region (“Regional Board”); and to
20
     Defendant, as required by the Act, 33 U.S.C. § 1365(b)(1)(A). A true and correct
21
22
     copy of CCAEJ’s notice letter is attached as Exhibit A, and is incorporated by

23   reference.
24         3.     More than sixty days have passed since notice was served on Defendant
25
     and the State and federal agencies. Plaintiff is informed and believes, and thereupon
26
     alleges, that neither the EPA nor the State of California has commenced or is
27
     COMPLAINT
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30
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 1   diligently prosecuting a court action to redress the violations alleged in this complaint.
 2
     This action’s claim for civil penalties is not barred by any prior administrative penalty
 3
     under Section 309(g) of the Act, 33 U.S.C. § 1319(g).
 4
 5          4.     Venue is proper in the Central District of California pursuant to Section

 6   505(c)(1) of the Act, 33 U.S.C. § 1365(c)(1), because the source of the violations is
 7   located within this judicial district.
 8
     II.    INTRODUCTION
 9
            5.     This complaint seeks relief from Defendant’s discharges of polluted
10
11   storm water from Defendant’s industrial facility located at 12550 Arrow Route in
12   Rancho Cucamonga, California (“Facility”). These discharges are in violation of the
13   Act and National Pollutant Discharge Elimination System (“NPDES”) Permit No.
14
     CAS000001, State Water Resources Control Board Water Quality Order No. 97-03-
15
     DWQ, as renewed by Water Quality Order No. 2014-0057-DWQ (“General Permit”).
16
17   Defendant’s violations of the discharge, treatment technology, monitoring
18   requirements, and other procedural and substantive requirements of the General
19
     Permit and the Act are ongoing and continuous.
20
            6.     With every significant rainfall event, millions of gallons of polluted
21
22
     storm water originating from industrial operations, such as those conducted by

23   Defendant, pour into storm drains and local waterways. The consensus among
24   agencies and water quality specialists is that storm water pollution accounts for more
25
     than half of the total pollution entering surface waters each year.
26
            7.     Industrial facilities, like Defendant’s, that are discharging polluted storm
27
     COMPLAINT
28                                                3
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 1   water and non-storm water contribute to the impairment of downstream waters and
 2
     aquatic-dependent wildlife. These contaminated discharges can and must be
 3
     controlled for the ecosystem to regain its health.
 4
 5   III.   PARTIES

 6          8.    Plaintiff CCAEJ is a non-profit public benefit corporation under the laws
 7   of the State of California with its main office in Jurupa Valley, California. CCAEJ is
 8
     dedicated to working with communities to advocate for environmental justice and
 9
     pollution prevention. CCAEJ and its members are deeply concerned with protecting
10
11   the environment in and around their communities, including the Santa Ana River
12   Watershed. To further these goals, CCAEJ actively seeks federal and state agency
13   implementation of the Act and other laws and, where necessary, directly initiates
14
     enforcement actions on behalf of itself and its members.
15
            9.    CCAEJ has members living in the communities near the Facility and the
16
17   Santa Ana River Watershed. They enjoy using the Santa Ana River for recreation and
18   other activities. Members of CCAEJ use and enjoy the waters into which Defendant
19
     has caused, is causing, and will continue to cause, pollutants to be discharged.
20
     Members of CCAEJ use those areas to recreate and view wildlife, among other things.
21
22
     Defendant’s discharges of pollutants threaten or impair each of those uses or contribute

23   to such threats and impairments. Thus, the interests of CCAEJ’s members have been,
24   are being, and will continue to be adversely affected by Defendant’s failure to comply
25
     with the Clean Water Act and the Permit. The relief sought herein will redress the
26
     harms to Plaintiff caused by Defendant’s activities.
27
     COMPLAINT
28                                               4
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30
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 1         10.    CCAEJ brings this action on behalf of its members. CCAEJ’s interest in
 2
     reducing Defendant’s discharges of pollutants into the Santa Ana River and its
 3
     tributaries and requiring Defendant to comply with the requirements of the General
 4
 5   Permit are germane to its purposes. Litigation of the claims asserted and relief

 6   requested in this Complaint does not require the participation in this lawsuit of
 7   individual members of CCAEJ.
 8
           11.    Continuing commission of the acts and omissions alleged above will
 9
     irreparably harm Plaintiff and one or more of its members, for which harm they have no
10
11   plain, speedy or adequate remedy at law.
12         12.    Defendant AIRGAS USA, LLC (“Airgas”) is a limited liability
13   corporation that owns and/or operates the Facility that is at issue in this action.
14
     IV.   STATUTORY BACKGROUND
15
           Clean Water Act
16
17         13.    Section 301(a) of the Act, 33 U.S.C. § 1311(a), prohibits the discharge of
18   any pollutant into waters of the United States, unless such discharge is in compliance
19
     with various enumerated sections of the Act. Among other things, Section 301(a)
20
     prohibits discharges not authorized by, or in violation of, the terms of an NPDES
21
22
     permit issued pursuant to Section 402 of the Act, 33 U.S.C. § 1342.

23         14.    Section 402(p) of the Act establishes a framework for regulating
24   municipal and industrial storm water discharges under the NPDES program. 33
25
     U.S.C. § 1342(p). States with approved NPDES permit programs are authorized by
26
     Section 402(p) to regulate industrial storm water discharges through individual
27
     COMPLAINT
28                                                5
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 1   permits issued to dischargers or through the issuance of a single, statewide general
 2
     permit applicable to all industrial storm water dischargers. 33 U.S.C. § 1342(p).
 3
           15.    The EPA promulgated regulations for the Section 402 NPDES permit
 4
 5   program defining waters of the United States. See 40 C.F.R. § 122.2. The EPA

 6   interprets waters of the United States to include not only traditionally navigable
 7   waters but also other waters, including waters tributary to navigable waters, wetlands
 8
     adjacent to navigable waters, and other waters including intermittent streams that
 9
     could affect interstate commerce. The Act requires any person who discharges or
10
11   proposes to discharge pollutants into waters of the United States to submit an NPDES
12   permit application. 40 C.F.R. § 122.21.
13         16.    Pursuant to Section 402 of the Act, 33 U.S.C. § 1342, the Administrator
14
     of the U.S. EPA has authorized California’s State Board to issue NPDES permits
15
     including general NPDES permits in California.
16
17         General Permit
18         17.    The State Board elected to issue a statewide general permit for industrial
19
     storm water discharges. The State Board originally issued the General Permit on or
20
     about November 19, 1991. The State Board modified the General Permit on or about
21
22
     September 17, 1992. Pertinent to this action, the State Board reissued the General

23   Permit on or about April 17, 1997, and again on or about April 1, 2014, pursuant to
24   Section 402(p) of the Clean Water Act, 33 U.S.C. § 1342(p). The current version of
25
     the General Permit went into effect on July 1, 2015.
26
           18.    In order to discharge storm water lawfully in California, industrial
27
     COMPLAINT
28                                               6
29
30
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 1   facilities must comply with the terms of the General Permit or have obtained and
 2
     complied with an individual NPDES permit. 33 U.S.C. § 1311(a).
 3
           19.   The General Permit contains several prohibitions. Effluent Limitation
 4
 5   V(A) prohibits discharges unless pollutants have been reduced or prevented through

 6   implementation of the Best Available Technology Economically Achievable (“BAT”)
 7   for toxic and nonconventional pollutants and the Best Conventional Pollutant Control
 8
     Technology (“BCT”) for conventional pollutants. Discharge Prohibition III(C)
 9
     prohibits storm water discharges and authorized non-storm water discharges that
10
11   cause or threaten to cause pollution, contamination, or nuisance. Receiving Water
12   Limitation VI(B) prohibits storm water discharges to any surface or ground water that
13   adversely impact human health or the environment. Receiving Water Limitation
14
     VI(A) and Discharge Prohibition III(D) prohibit storm water discharges that cause or
15
     contribute to an exceedance of any applicable water quality standards contained in
16
17   Statewide Water Quality Control Plan or the applicable Regional Board’s Basin Plan.
18         20.   In addition to absolute prohibitions, the General Permit contains a variety
19
     of substantive and procedural requirements that dischargers must meet. Facilities
20
     discharging, or having the potential to discharge, storm water associated with
21
22
     industrial activity that have not obtained an individual NPDES permit must apply for

23   coverage under the State’s General Permit by filing a Notice of Intent to Comply
24   (“NOI”). Dischargers have been required to file NOIs since March 30, 1992.
25
           21.   Dischargers must develop and implement a Storm Water Pollution
26
     Prevention Plan (“SWPPP”). The SWPPP must describe storm water control facilities
27
     COMPLAINT
28                                              7
29
30
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 1   and measures that comply with the BAT and BCT standards. For dischargers
 2
     beginning industrial activities before October 1, 1992, the General Permit requires
 3
     that an initial SWPPP has been developed and implemented before October 1, 1992.
 4
 5   The objective of the SWPPP requirement is to identify and evaluate sources of

 6   pollutants associated with industrial activities that may affect the quality of storm
 7   water discharges and authorized non-storm water discharges from the facility, and to
 8
     implement best management practices (“BMPs”) to reduce or prevent pollutants
 9
     associated with industrial activities in storm water discharges and authorized non-
10
11   storm water discharges. General Permit, § X(C). These BMPs must achieve
12   compliance with the General Permit’s effluent limitations and receiving water
13   limitations, including the BAT and BCT technology mandates. To ensure compliance
14
     with the General Permit, the SWPPP must be evaluated and revised as necessary. Id.,
15
     § X(B). Failure to develop or implement an adequate SWPPP, or update or revise an
16
17   existing SWPPP as required, is a violation of the General Permit. Id., Fact Sheet §
18   I(1).
19
             22.   Section X of the General Permit sets forth the requirements for a
20
     SWPPP. Among other requirements, the SWPPP must include: an Annual
21
22
     Evaluation, the date of preparation, the date of subsequent amendments, a pollution

23   prevention team; a site map containing facility boundaries and depicting municipal
24   storm drain inlets; an evaluation of non-storm water discharges; a list of significant
25
     materials handled and stored at the site; a description of potential pollutant sources; an
26
     assessment of potential pollutant sources; and a description of the BMPs to be
27
     COMPLAINT
28                                               8
29
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 1   implemented at the facility that will reduce or prevent pollutants in storm water
 2
     discharges and authorized non-storm water discharges, including structural BMPs
 3
     where non-structural BMPs are not effective. Dischargers must develop and
 4
 5   implement a set of minimum BMPs, as well as any advanced BMPs as necessary to

 6   achieve BAT/BCT, which serve as the basis for compliance with the General Permit’s
 7   technology-based effluent limitations and receiving water limitations.
 8
           23.    The General Permit requires dischargers to implement and maintain, to
 9
     the extent feasible, all of the following minimum BMPs in order to reduce or prevent
10
11   pollutants in industrial storm water discharges: good housekeeping, preventive
12   maintenance, spill and leak prevention and response, material handling and waste
13   management, erosion and sediment controls, an employee training program, and
14
     quality assurance and record keeping. Id., § X(H)(1). Failure to implement these
15
     minimum BMPs is a violation of the General Permit. Id., Fact Sheet § I(2)(o). The
16
17   General Permit further requires dischargers to implement and maintain, to the extent
18   feasible, any one or more of the following advanced BMPs necessary to reduce or
19
     prevent discharges of pollutants in industrial storm water discharges: exposure
20
     minimization BMPs, storm water containment and discharge reduction BMPs,
21
22
     treatment control BMPs, and other advanced BMPs. Id., § X(H)(2). Failure to

23   implement advanced BMPs as necessary to achieve compliance with either
24   technology or water quality standards is a violation of the General Permit. Id. The
25
     General Permit also requires that the SWPPP include BMP descriptions and a BMP
26
     Summary Table. Id., § X(H)(4), (5).
27
     COMPLAINT
28                                              9
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 1           24.   The General Permit requires dischargers to develop and implement an
 2
      adequate written Monitoring Implementation Program (“MIP”). The primary
 3
      objective of the MIP is to detect and measure the concentrations of pollutants in a
 4
 5    facility’s discharge to ensure compliance with the General Permit’s discharge

 6    prohibitions, effluent limitations, and receiving water limitations. As part of their
 7    monitoring program, dischargers must identify all storm water discharge locations that
 8
      produce a significant storm water discharge, evaluate the effectiveness of BMPs in
 9
      reducing pollutant loading, and evaluate whether pollution control measures set out in
10
11    the SWPPP are adequate and properly implemented. The General Permit mandates
12    that facility operators sample four storm water discharges from all storm water
13    discharge locations at a facility over the course of the reporting year. Id., §§ XI(B)(2),
14
      (3).
15
             25.   Under the General Permit, facilities must collect and analyze storm water
16
17    discharges for “[a]dditional parameters identified by the Discharger on a facility-
18    specific basis that serve as indicators of the presence of all industrial pollutants
19
      identified in the pollutant source assessment.” Id., § XI(B)(6)(c).
20
             26.   Under the General Permit, a facility must analyze collected samples for
21
22
      “[a]dditional applicable industrial parameters related to receiving waters with 303(d)

23    listed impairments or approved TMDLs based on the assessment in Section
24    X.G.2.a.ix.” Id., § XI(B)(6)(d).
25
             27.   Section XI(B)(2) of the General Permit requires that dischargers collect
26
      and analyze storm water samples from two qualifying storm events (“QSEs”) during
27
      COMPLAINT
28                                                10
29
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 1    the first half of each reporting year (July 1 to December 31) and two QSEs during the
 2
      second half of each reporting year (January 1 to June 30).
 3
            28.     Section XVI(A) of the General Permit requires dischargers to certify and
 4
 5    submit completed Annual Reports by July 15th of each year.

 6          29.     The General Permit does not provide for any mixing zones by
 7    dischargers. The General Permit does not provide for any receiving water dilution
 8
      credits to be applied by dischargers.
 9
            Basin Plan
10
11          30.     The Regional Board has identified beneficial uses and established water
12    quality standards for the Santa Ana River and its tributaries in the “Water Quality
13    Control Plan for the Santa Ana River Basin (Region 8),” generally referred to as the
14
      Basin Plan.
15
            31.     The beneficial uses of these waters include, among others, municipal,
16
17    groundwater recharge, water contact recreation, non-contact water recreation, wildlife
18    habitat, cold freshwater habitat, warm freshwater habitat, and rare, threatened or
19
      endangered species. Non-contact water recreation use is defined as “[u]ses of water
20
      for recreational activities involving proximity to water, but not normally involving
21
22
      contact with water where water ingestion is reasonably possible. These uses include,

23    but are not limited to, picnicking, sunbathing, hiking, beachcombing, camping,
24    boating, tidepool and marine life study, hunting, sightseeing and aesthetic enjoyment
25
      in conjunction with the above activities.” Basin Plan at 3-3. Contact recreation use
26
      includes fishing and wading. Id.
27
      COMPLAINT
28                                               11
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 1           32.   Discharges of pollutants at levels above water quality standards
 2
      contribute to the impairment of beneficial uses of the waters receiving the discharge,
 3
      in violation of the General Permit.
 4
 5           33.   The Basin Plan includes a narrative toxicity standard which states that

 6    “[t]oxic substances shall not be discharged at levels that will bioaccumulate in aquatic
 7    resources to levels which are harmful to human health.”
 8
             34.   The Basin Plan includes a narrative suspended and settleable solids
 9
      standard which states that “Inland surface waters shall not contain suspended or
10
11    settleable solids in amounts which cause a nuisance or adversely affect beneficial
12    uses...”
13           35.   The Basin Plan provides that “[t]he pH of inland surface waters shall not
14
      be raised above 8.5 or depressed below 6.5…”
15
             36.   The Basin Plan contains a narrative floatables standard which states that
16
17    ‘[w]aste discharges shall not contain floating materials, including solids, liquids, foam
18    or scum, which cause a nuisance or adversely affect beneficial uses.”
19
             37.   The Basin Plan contains a narrative color standard which states that
20
      “[w]aste discharges shall not result in coloration of the receiving waters which causes
21
22
      a nuisance or adversely affect beneficial uses.”

23           38.   The EPA 303(d) List of Water Quality Limited Segments lists Reach 3 of
24    the Santa Ana River as impaired for copper, indicator bacteria, and lead.
25
             39.   EPA has established Parameter Benchmark Values as guidelines for
26
      determining whether a facility discharging industrial storm water has implemented the
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      COMPLAINT
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 1    requisite BAT and BCT. These benchmarks represent pollutant concentrations at
 2
      which a storm water discharge could potentially impair, or contribute to impairing,
 3
      water quality, or affect human health from ingestion of water or fish. The following
 4
 5    EPA benchmarks have been established for pollution parameters applicable to the

 6    Facility: pH – 6.0 - 9.0 standard units (“s.u.”); total suspended solids (“TSS”) – 100
 7    mg/L; oil and grease (“O&G”) – 15 mg/L; nitrate plus nitrite nitrogen (“N+N”) – 0.68
 8
      mg/L; iron – 1.0 mg/L; and aluminum – 0.75 mg/L.
 9
            40.    The General Permit establishes annual Numeric Action Levels (“NALs”)
10
11    and instantaneous maximum NALs. The following annual NALs have been
12    established under the General Permit: TSS – 100 mg/L; O&G – 15 mg/L; N+N – 0.68
13    mg/L; iron – 1.0 mg/L; and aluminum – 0.75 mg/L. An exceedance of an annual
14
      NAL occurs when the average of all samples obtained for an entire facility during a
15
      single reporting year is greater than a particular annual NAL. The reporting year runs
16
17    from July 1 to June 30. The General Permit also establishes the following
18    instantaneous maximum NALs: pH – 6.0-9.0 s.u.; TSS – 400 mg/L; and O&G – 25
19
      mg/L. An instantaneous maximum NAL exceedance occurs when two or more
20
      analytical results from samples taken for any single parameter within a reporting year
21
22
      exceed the instantaneous maximum NAL value (for TSS and O&G) or are outside of

23    the instantaneous maximum NAL range for pH. When a discharger exceeds an
24    applicable NAL, it is elevated to “Level 1 Status,” which requires a an Exceedance
25
      Response Action (“ERA”) report requiring a revision of the SWPPP and additional
26
      BMPs. If a discharger exceeds an applicable NAL during Level 1 Status, it is then
27
      COMPLAINT
28                                               13
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 1    elevated to “Level 2 Status.” For Level 2 Status, a discharger is required to submit an
 2
      Action Plan requiring a demonstration of either additional BMPs to prevent
 3
      exceedances, a determination that the exceedance is solely due to non-industrial
 4
 5    pollutant sources, or a determination that the exceedance is solely due to the presence

 6    of the pollutant in the natural background.
 7          41.    Section 505(a)(1) and Section 505(f) of the Act provide for citizen
 8
      enforcement actions against any “person,” including individuals, corporations, or
 9
      partnerships, for violations of NPDES permit requirements. 33 U.S.C. §§ 1365(a)(1)
10
11    and (f), § 1362(5). An action for injunctive relief under the Act is authorized by 33
12    U.S.C. § 1365(a). Violators of the Act are also subject to an assessment of civil
13    penalties of up to $56,460 for violations occurring after November 2, 2015, pursuant
14
      to Sections 309(d) and 505 of the Act, 33 U.S.C. §§ 1319(d), 1365. See also 40
15
      C.F.R. §§ 19.1 - 19.4.
16
17    V.    STATEMENT OF FACTS
18          42.    Defendant owns and/or operates the Facility, a gas manufacturing facility
19
      located in Rancho Cucamonga, CA.
20
            43.    The Facility falls within Standard Industrial Classification (“SIC”) Codes
21
22
      2813 and 4231.

23          44.    The Facility covers an area of approximately 19.1 acres.
24          45.    Based on CCAEJ’s investigation, including a review of the Facility’s
25
      Notice of Intent to Comply with the Terms of the Industrial General Permit (“NOI”),
26
      SWPPPs, aerial photography, and CCAEJ’s information and belief, storm water is
27
      COMPLAINT
28                                                  14
29
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 1    collected and discharged from the Facility via at least one storm water discharge
 2
      locations. Storm water discharged from the Facility flows into channels that flow into
 3
      the West Fontana Channel, which flows into San Bernardino County’s municipal
 4
 5    storm sewer system, which discharges into Day Creek, which then flows into Reach 3

 6    of the Santa Ana River (collectively, “Facility Receiving Waters”).
 7          46.    Information available to Plaintiff indicates that the Facility Receiving
 8
      Waters are waters of the United States.
 9
            47.    Plaintiff is informed and believes, and thereupon alleges that the storm
10
11    water flows over the surface of the Facility where industrial activities occur including
12    activities associated with the primary activity of manufacturing industrial gases.
13    Industrial activities include the separation of air components (oxygen and nitrogen)
14
      and conversion of those gases to liquid states, transfer of gases, material
15
      loading/unloading, machinery maintenance, and material storage. Plaintiff is
16
17    informed and believes, and thereupon alleges that storm water flowing over these
18    areas collects metals, pH-altering substances, nitrates, nitrites, and other pollutants as
19
      it flows towards the storm water discharge locations.
20
            48.    On information and belief, Plaintiff alleges that the majority of storm
21
22
      water discharges from the Facility contain storm water that is commingled with runoff

23    from areas at the Facility where industrial processes occur.
24          49.    On information and belief, CCAEJ alleges that there are insufficient
25
      structural storm water control measures installed at the Facility. Plaintiff is informed
26
      and believes, and thereupon alleges, that the management practices at the Facility are
27
      COMPLAINT
28                                                15
29
30
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 1    currently inadequate to prevent the sources of contamination described above from
 2
      causing the discharge of pollutants to waters of the United States. The Facility lacks
 3
      sufficient structural controls such as grading, berming, roofing, containment, or
 4
 5    drainage structures to prevent rainfall and storm water flows from coming into contact

 6    with exposed areas of contaminants. The Facility lacks sufficient structural controls
 7    to prevent the discharge of water once contaminated. The Facility lacks adequate
 8
      storm water pollution treatment technologies to treat storm water once contaminated.
 9
            50.    Since at least December 19, 2015, Defendant has taken samples or
10
11    arranged for samples to be taken of storm water discharges at the Facility. The
12    sample results were submitted to the State Board via the Stormwater Multiple
13    Application and Report Tracking System (“SMARTS”).
14
            51.    In storm water sampling results submitted to the State Board, the Facility
15
      has consistently reported high pollutant levels from its storm water sampling results.
16
17          52.    The levels of TSS in storm water detected by the Facility have exceeded
18    the benchmark value and annual NAL for TSS of 100 mg/L established by EPA and
19
      the State Board, respectively. For example, on March 12, 2020, Defendant measured
20
      a level of TSS of 560 mg/L in storm water discharged from the Facility. That level of
21
22
      TSS is over five times the benchmark value and annual NAL for TSS. Defendant also

23    has measured levels of TSS in storm water discharged from the Facility in excess of
24    100 mg/L on the following dates: November 28, 2019; February 14, 2019; January 18,
25
      2019; and November 29, 2018.
26
            53.    The levels of N+N in storm water detected by the Facility have exceeded
27
      COMPLAINT
28                                               16
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 1    the benchmark value and annual NAL for N+N of 0.68 mg/L established by EPA and
 2
      the State Board, respectively. For example, on November 28, 2019, Defendant
 3
      measured a level of N+N of 1.21 mg/L in storm water discharged from the Facility.
 4
 5    That level of N+N is almost twice the benchmark value and annual NAL for N+N.

 6    Defendant also has measured levels of N+N in storm water discharged from the
 7    Facility in excess of 0.68 mg/L on the following dates: March 12, 2020; November
 8
      29, 2018; and January 9, 2018.
 9
            54.   The levels of iron in storm water detected by the Facility have exceeded
10
11    the benchmark value and annual NAL for iron of 1.0 mg/L established by EPA and
12    the State Board, respectively. For example, on March 12, 2020, the level of iron
13    measured at one of the Facility’s storm water outfalls was 35.5 mg/L. That level of
14
      iron is over 35 times the benchmark value and annual NAL for iron. Defendant also
15
      has measured levels of iron in storm water discharged from the Facility in excess of
16
17    1.0 mg/L on the following dates: April 10, 2020; November 28, 2019; February 14,
18    2019; January 18, 2019; December 6, 2018; November 29, 2018; January 9, 2018; and
19
      January 10, 2017.
20
            55.   The levels of aluminum in storm water detected by the Facility have
21
22
      exceeded the benchmark value and annual NAL for aluminum of 0.75 mg/L

23    established by EPA and the State Board, respectively. For example, on March 12,
24    2020, the level of aluminum measured at one of the Facility’s storm water outfalls
25
      was 32.6 mg/L. That level of aluminum is over 43 times the benchmark value and
26
      annual NAL for aluminum. Defendant also has measured levels of aluminum in storm
27
      COMPLAINT
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 1    water discharged from the Facility in excess of 1.0 mg/L on the following dates: April
 2
      10, 2020; February 14, 2019; January 18, 2019; December 6, 2018; November 29,
 3
      2018; January 9, 2018; and January 10, 2017.
 4
 5          56.      On information and belief, Plaintiff alleges that since at least December

 6    19, 2015, Defendant has failed to implement BAT and BCT at the Facility for its
 7    discharges of TSS, N+N, iron, aluminum, and other potentially un-monitored
 8
      pollutants. Effluent Limitation V(A) of the General Permit requires that Defendant
 9
      implement BAT for toxic and nonconventional pollutants and BCT for conventional
10
11    pollutants by no later than October 1, 1992. As of the date of this Complaint,
12    Defendant has failed to implement BAT and BCT.
13          57.      On information and belief, CCAEJ alleges that Airgas failed to collect
14
      and analyze the required storm water discharges as follows:
15
            • Failure to collect and analyze any samples during the 2015-2016 reporting
16
17                year.
18          • Failure to collect and analyze any samples during the first half of the 2016-
19
                  2017 reporting year.
20
            • Failure to collect and analyze a second sample during the second half of the
21
22
                  2016-2017 reporting year.

23          • Failure to collect and analyze one sample during the first half of the 2017-
24                2018 reporting year.
25
            • Failure to collect and analyze a second sample during the second half of the
26
                  2017-2018 reporting year.
27
      COMPLAINT
28                                                18
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 1          • Failure to collect and analyze a second sample during the first half of the
 2
                  2019-2020 reporting year.
 3
            58.      On information and belief, CCAEJ alleges that Defendant failed to
 4
 5    collect and analyze storm water samples from its storm water discharge location from

 6    the following QSEs:
 7          • One of the required QSEs during the second half of the 2016-2017 reporting
 8
                  year.
 9
            • One of the required QSEs during the second half of the 2018-2019 reporting
10
11                year.
12          • One of the required QSEs during the second half of the 2019-2020 reporting
13                year.
14
            59.      Section XVI.A of the General Permit requires dischargers to certify and
15
      submit completed Annual Reports by July 15th of each year. CCAEJ alleges that
16
17    Defendants has failed to submit an Annual Report in compliance with this provision
18    since July 15, 2016.
19
            60.      On information and belief, Plaintiff alleges that since at least December
20
      19, 2015, Defendant has failed to implement an adequate SWPPP for the Facility.
21
22
      Plaintiff is informed and believes, and thereupon alleges, that the SWPPP prepared for

23    the Facility does not set forth site-specific best management practices for the facility
24    that are consistent with BAT or BCT for the Facility. Plaintiff is informed and
25
      believes, and thereupon alleges, that the SWPPP prepared for the Facility does not
26
      comply with the requirements of Sections X(A)(9), X(A)(10), X(H), X(E),
27
      COMPLAINT
28                                                19
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 1    X(G)(1)(e), X(G)(2), and X(H) of the General Permit. The SWPPP also fails to
 2
      identify and implement advanced BMPs that are not being implemented at the Facility
 3
      because they do not reflect best industry practice considering BAT/BCT. According
 4
 5    to information available to CCAEJ, the Facility’s SWPPP has not been evaluated to

 6    ensure its effectiveness and revised where necessary to further reduce pollutant
 7    discharges.
 8
            61.     Information available to CCAEJ indicates that as a result of the above
 9
      practices, storm water containing excessive pollutants is being discharged from the
10
11    Facility during rain events into channels that discharge to the discharge into San
12    Bernardino County’s municipal storm sewer system, which discharges into Day
13    Creek, which flows into Reach 3 of the Santa Ana River.
14
            62.     Plaintiff is informed and believes, and thereupon alleges, that Defendant
15
      has failed and continues to fail to alter the Facility’s SWPPP and site-specific BMPs
16
17    consistent with the General Permit.
18          63.     Information available to Plaintiff indicates that Defendant has not
19
      fulfilled the requirements set forth in the General Permit for discharges from the
20
      Facility due to the continued discharge of contaminated storm water. Plaintiff is
21
22
      informed and believes, and thereupon alleges, that all of the violations alleged in this

23    Complaint are ongoing and continuous.
24    ///
25
      ///
26
27
      COMPLAINT
28                                                20
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 1
      VI.    CLAIMS FOR RELIEF

 2                               FIRST CAUSE OF ACTION
 3                        Failure to Implement the Best Available and
                          Best Conventional Treatment Technologies
 4          (Violations of Permit Conditions and the Act, 33 U.S.C. §§ 1311, 1342)
 5
             64.   Plaintiff re-alleges and incorporates all of the preceding paragraphs as if
 6
 7    fully set forth herein.

 8           65.   Effluent Limitation V(A) of the General Permit as well as its SWPPP
 9    requirements require dischargers to reduce or prevent pollutants in their storm water
10
      discharges through implementation of BAT for toxic and nonconventional pollutants
11
      and BCT for conventional pollutants. Defendant has failed to implement BAT and
12
13    BCT at the Facility for its discharges of TSS, N+N, iron, aluminum, and other
14    potentially un-monitored pollutants in violation of Effluent Limitation V(A) of the
15    General Permit.
16
             66.   Each day since December 19, 2015, that Defendant has failed to develop
17
      and implement BAT and BCT in violation of the General Permit is a separate and
18
19    distinct violation of the General Permit and Section 301(a) of the Act, 33 U.S.C. §
20    1311(a).
21
             67.   Defendant has been in violation of the BAT/BCT requirements every day
22
      since December 19, 2015. Defendant continues to be in violation of the BAT/BCT
23
24
      requirements each day that it fails to develop and fully implement BAT/BCT at the

25    Facility.
26    ///
27
      COMPLAINT
28                                               21
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 1
 2                              SECOND CAUSE OF ACTION
 3                  Failure to Certify and Submit Complete Annual Reports
             (Violations of Permit Conditions and the Act, 33 U.S.C. §§ 1311, 1342)
 4
 5           68.    Plaintiff re-alleges and incorporates all of the preceding paragraphs as if
 6    fully set forth herein.
 7
             69.    Defendant is required to submit an Annual Report each year that consists
 8
      of, inter alia, a compliance checklist, an explanation of any non-compliance of
 9
10    requirements, an identification of changes made to the SWPPP during the reporting

11    year, and the dates of the Annual Evaluation.
12           70.    Defendant consistently failed to include these required components of its
13
      its Annual Reports.
14
             71.     Each day since December 19, 2015, that the Facility operates without
15
16    submitting a complete Annual Report is a violation of Section XVI(B)(3) of the
17    General Permit and Section 301(a) of the Act, 33 U.S.C. § 1311(a).
18           72.    Defendant has been in violation of the Permit’s SWPPP requirements
19
      every day since July 15, 2016. Defendant continues to be in violation of the SWPPP
20
      requirements each day that it fails to develop and fully implement an adequate SWPPP
21
22    for the Facility.
23
                                 THIRD CAUSE OF ACTION
24                    Failure to Prepare, Implement, Review, and Update
                      an Adequate Storm Water Pollution Prevention Plan
25
             (Violations of Permit Conditions and the Act, 33 U.S.C. §§ 1311, 1342)
26
27           73.    Plaintiff re-alleges and incorporates all of the preceding paragraphs as if
      COMPLAINT
28                                                22
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 1    fully set forth herein.
 2
            74.    The General Permit requires dischargers of storm water associated with
 3
      industrial activity to develop and implement an adequate SWPPP no later than
 4
 5    October 1, 1992.

 6          75.    Defendant has failed to develop and implement an adequate SWPPP for
 7    the Facility. Defendant’s ongoing failure to develop and implement adequate SWPPP
 8
      for the Facility, is evidenced by, inter alia, Defendant’s failure to justify each
 9
      minimum and advanced BMP not being implemented.
10
11          76.    Defendant has failed to update the SWPPP for the Facility in response to
12    the analytical results of the Facility’s storm water monitoring.
13          77.    Each day since December 19, 2015, that Defendant has failed to develop,
14
      implement and update an adequate SWPPP for the Facility, respectively, is a separate
15
      and distinct violation of the General Permit and Section 301(a) of the Act, 33 U.S.C. §
16
17    1311(a).
18          78.    Defendant has been in violation of the Permit’s SWPPP requirements
19
      every day since December 19, 2015. Defendant continues to be in violation of the
20
      SWPPP requirements each day that it fails to develop and fully implement an adequate
21
22
      SWPPP for the Facility.

23                             FOURTH CAUSE OF ACTION
24
                             Failure to Develop and Implement an
                          Adequate Monitoring Implementation Plan
25           (Violation of Permit Conditions and the Act, 33 U.S.C. §§ 1311, 1342)
26
            79.    Plaintiff re-alleges and incorporates all of the preceding paragraphs as if
27
      COMPLAINT
28                                                 23
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 1    fully set forth herein.
 2
                80.   The General Permit requires dischargers of storm water associated with
 3
      industrial activity to have developed and be implementing a monitoring and reporting
 4
 5    program (including, inter alia, sampling and analysis of discharges) no later than

 6    October 1, 1992.
 7              81.   Defendant has failed to develop and implement an adequate MIP for the
 8
      Facility.
 9
                82.   Defendant’s ongoing failure to develop and implement an adequate MIP
10
11    program is evidenced by, inter alia, its failure to collect and analyze storm water
12    samples from all qualifying storm events.
13              83.   Each day since at least December 19, 2015, that Defendant has failed to
14
      develop and implement an adequate MIP for the Facility in violation of the General
15
      Permit is a separate and distinct violation of the General Permit and Section 301(a) of
16
17    the Act, 33 U.S.C. § 1311(a). The absence of requisite monitoring and analytical
18    results are ongoing and continuous violations of the Act.
19
      VII. RELIEF REQUESTED
20
21
                Wherefore, Plaintiff respectfully requests that this Court grant the following
22
      relief:
23
                      a. Declare Defendant to have violated and to be in violation of the Act as
24
25    alleged herein;
26                    b. Enjoin Defendant from discharging polluted storm water from the
27
      COMPLAINT
28                                                   24
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 1    Facility unless authorized by the General Permit;
 2
                    c. Enjoin Defendant from further violating the substantive and procedural
 3
      requirements of the General Permit;
 4
 5                  d. Order Defendant to immediately implement storm water pollution

 6    control and treatment technologies and measures that are equivalent to BAT or BCT;
 7                  e. Order Defendant to comply with the Permit’s MIP requirements,
 8
      including ordering supplemental monitoring to compensate for past monitoring
 9
      violations;
10
11                  f. Order Defendant to prepare a SWPPP for the Facility consistent with
12    the Permit’s requirements and implement procedures to regularly review and update the
13    SWPPP;
14
                    g. Order Defendant to submit complete and accurate Annual Reports that
15
      reflect the changes to the Facility’s SWPPP;
16
17                  h. Order Defendant to provide Plaintiff with reports documenting the
18    quality and quantity of their discharges to waters of the United States and their efforts
19
      to comply with the Act and the Court’s orders;
20
                    i. Order Defendant to pay civil penalties of up to $56,460 per violation
21
22
      pursuant to Sections 309(d) and 505(a) of the Act, 33 U.S.C. §§ 1319(d), 1365(a) and

23    40 C.F.R. §§ 19.1 - 19.4;
24                  j. Order Defendant to take appropriate actions to restore the quality of
25
      waters impaired or adversely affected by their activities;
26
                    k. Award Plaintiff’s costs (including reasonable investigative, attorney,
27
      COMPLAINT
28                                                25
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 1    witness, compliance oversight, and consultant fees) as authorized by the Act, 33 U.S.C.
 2
      § 1365(d); and,
 3
                     l. Award any such other and further relief as this Court may deem
 4
 5    appropriate.

 6
      Dated: February 17, 2021          Respectfully submitted,
 7
 8
 9                                      By:   __/s/ Douglas J. Chermak_________
                                              Douglas J. Chermak
10                                            LOZEAU DRURY LLP
11                                            Attorneys for Center for Community Action
                                              and Environmental Justice
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      COMPLAINT
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